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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Edward David Stahlmann,                              File No. 22-cv-3058 (ECT/DTS)

              Plaintiff,

v.                                                  ORDER ACCEPTING REPORT
                                                     AND RECOMMENDATION
Minnesota Department of Corrections;
Centurion of Minnesota; Paul Schnell, Ann
Blanchard, Michelle Paulson, and Tracy
Beltz, each in their individual and official
capacities,

           Defendants.
________________________________________________________________________

       Magistrate Judge David T. Schultz issued a Report and Recommendation on August

4, 2023. ECF No. 54. No party has objected to that Report and Recommendation, and it

is therefore reviewed for clear error. See Fed. R. Civ. P. 72(b); Grinder v. Gammon, 73

F.3d 793, 795 (8th Cir. 1996) (per curiam). Finding no clear error, and based upon all of

the files, records, and proceedings in the above-captioned matter, IT IS ORDERED

THAT:

       1.     The Report and Recommendation [ECF No. 54] is ACCEPTED;

       2.     Defendants’ Motion to Dismiss [ECF No. 30] is GRANTED as follows:

              a.     Plaintiff’s federal claims against Defendants Minnesota Department

                     of Corrections, Paul Schnell, and Tracy Beltz are dismissed in their

                     entirety with prejudice on the merits; except that the claims against
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          Defendants Schnell and Beltz in their individual capacities are

          dismissed without prejudice;

    b.    Plaintiff’s Fourteenth Amendment claim against Defendant Centurion

          of Minnesota is dismissed with prejudice and his Eighth Amendment

          claim is dismissed without prejudice;

    c.    Plaintiff’s Official Capacity claims against Defendants Ann

          Blanchard and Michelle Paulson are dismissed in their entirety and

          with prejudice on the merits;

    d.    Plaintiff’s Fourteenth Amendment claims against Defendants Ann

          Blanchard and Michelle Paulson are dismissed in their entirety and

          with prejudice on the merits;

    e.    Plaintiff’s claim for Injunctive Relief against Defendant Paul Schnell

          is dismissed in its entirety and with prejudice on the merits;

    f.    Plaintiff’s claims against all Defendants arising under Article I,

          Sections 5 and 7 of the Minnesota Constitution are dismissed in their

          entirety and with prejudice on the merits;

    g.    Plaintiff’s claims against Defendant Paul Schnell arising under

          Minnesota Statute Chapter 241 are dismissed in their entirety and with

          prejudice on the merits;

    h.    Plaintiff’s claims against Defendants Minnesota Department of

          Corrections, Paul Schnell, Tracy Beltz, Ann Blanchard and Michelle



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                      Paulson arising under Minnesota rule 2911.5800, subps. 4 and 8 are

                      dismissed in their entirety and with prejudice on the merits; and

       3.       Defendants’ Motion to Dismiss [ECF No. 30] is DENIED in all other

respects.



Dated: September 5, 2023                   s/ Eric C. Tostrud
                                           Eric C. Tostrud
                                           United States District Court




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